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     Assistant U.S. Attorney
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     Sacramento, California 95814
 4   Telephone: (916) 554-2700
 5
 6
 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                            )    CR. NO. S-08-0376 EJG
                                                           )
12               Plaintiff,                                )
                                                           )    STIPULATION AND ORDER TO
13    v.                                                   )    CHANGE JUDGMENT AND SENTENCE
                                                           )    TO STATUS CONFERENCE
14    SHANE BURRESON,                                      )
                                                           )
15               Defendant.                                )
                                                           )
16                                                         )
17
18          THE PARTIES HEREBY STIPULATE AS FOLLOWS:
19          Mr. Burreson is scheduled for a status conference on sentencing on January 20, 2012. However,
20   he may be called as a witness at the trial of several co-conspirators in this case. As such, the
21   government will not be able to fully determine its sentencing recommendation until after the trial,
22   which is set to begin March 19, 2012.
23          Per agreement with the government and defense counsel, it is respectfully requested that the
24   status conference, currently set for January 20, 2012, at 10:00 a.m., be vacated and that the case be re-
25   set for status on sentencing for March 30, 2012, which is currently the date set for the status on
26   sentencing of several other cooperators.
27          It is anticipated that at that time, the parties will be in a better position to request a new
28   Judgment and Sentencing date and disclosure schedule for the pre-sentence report.

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 1                                               BENJAMIN B. WAGNER
                                                 United States Attorney
 2
 3   Date: 1/19/12                                  /s/ Russell L. Carlberg
                                                 By: RUSSELL L. CARLBERG
 4                                               Assistant United States Attorney
 5
 6
     Date: 1/19/12                                  /s/ Matt Jacobs*
 7                                               MATTHEW J. JACOBS
                                                 Attorney for Defendant Shane Burreson
 8
 9                                                  ORDER
10          For the reasons stated above, the Court vacates the status conference on sentencing currently set
11   for January 20, 2012. The Court re-sets the matter for a status conference on sentencing for March 30,
12   2012, at 10 a.m..
13
            IT IS SO ORDERED this 19th day of January, 2012.
14
15                                               /s/ Edward J. Garcia
                                                 EDWARD J. GARCIA
16                                               UNITED STATES DISTRICT JUDGE
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28   *Signed with permission.

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